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 Attorneys for Sezgin Baran Korkmaz                 Attorneys for Sezgin Baran Korkmaz



                          IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                    Case No.: 2:21-CR-00140-JNP
       v.
                                                    Judge Jill N. Parrish
 SEZGIN BARAN KORKMAZ,

                        Defendant.


             DEFENDANT’S UNOPPOSED MOTION TO CONTINUE TRIAL

       Defendant Sezgin Baran Korkmaz respectfully requests that the Court continue the trial

date currently set for November 4, 2024. In support of his motion, Korkmaz states as follows:

       1.      The Court set a three-week jury trial to begin on November 4, 2024.

       2.      In the interests of justice, Korkmaz respectfully requests a continuance of the

November 4, 2024, trial date by approximately four months, to mid-March 2025.

       3.      This case is complex and defense counsel needs additional time to prepare a

constitutionally sufficient defense. Failure to continue the trial would result in a miscarriage of

justice and would deny defendant effective representation.
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       4.      Korkmaz agrees to exclude the additional time under the Speedy Trial Act.

       5.      Korkmaz has consulted with counsel for the Government, who has indicated

that it does not oppose the motion.

       6.      Wherefore, for the foregoing reasons, Korkmaz respectfully requests that the

Court continue the trial date for approximately four months to mid-March 2025.



Respectfully submitted this 26th day of September, 2024.

                                      /s/ Matthew C. Crowl
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                                        Certificate of Service

           I certify that on the 26th day of September 2024, I caused a copy of the foregoing to be

 filed through the CM/ECF electronic filing system, and I caused a copy to be emailed to all

 counsel of record.



                                        /s/ Matthew C. Crowl
                                        MATTHEW C. CROWL (Pro Hac Vice)
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